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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK

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                                             ----------------------------------------
VIRGINIA L. GIUFFRE,

        Plaintiff,

v.                                                                                                 15-cv-07433-LAP


GHISLAINE MAXWELL,

        Defendant.

--------------------------------------------------X




                     Ms. Maxwell’s Memorandum Brief In Support Of Her
                          Objections to Unsealing Sealed Materials




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          Pursuant to this Court’s Order and protocol for Unsealing Decided Motions, Defendant

Ghislaine Maxwell, through her counsel objects to the unsealing of documents for the reasons

stated.

   I. Overview

          Docket Entries (“DE[s]”) 143, 164, 172, 199, and 230 (“Sealed Material[s]” or “Sealed

Item[s]”) have been selected by the Court, with respect to Does 1 and 2, to begin the process of

individualized review of these selected Sealed Materials to determine (a) the weight of

presumption of public access that should be afforded to an item, (b) the identification and weight

of any countervailing interests supporting continued sealing/redaction of the item, and (c) whether

the countervailing interests rebut the presumption of public access to the item. Giuffre v. Maxwell,

No. 15-CV-07433-LAP, 2020 WL 1547377, at *1 (S.D.N.Y. Mar. 31, 2020); DE 1044.1 Based on

the Court’s clarification of its March 31, 2020 Order, DE 1053, (“the Protocol”), Non-Parties

Does 1 and 2 have been served with the approved Notice and, pursuant to the Protocol, additional

Non-Parties will be notified prior to any unsealing of the selected Sealed Materials.

          Does 1 and 2 did not respond to the Notice. The absence of a response, however, does not

end the analysis. Although the Court’s Protocol requires consideration of objections from the

other Non-Parties yet to be noticed, the Court could (and should) determine, based on the

circumstances of the Sealed Materials selected here, that the items are appropriately sealed

without the need for additional Non-Party objections.




         Pursuant to paragraph 2.g of the Order “any memorandum in support of a … Party
          1

Objection to unsealing a particular Sealed Item shall be no longer than 6 double-spaced pages in
12 point, Times New Roman Font. Ms. Maxwell has lodged objections to the identified
documents in 14 pages in compliance with the Order, i.e., this pledge is one-half of the authorized
length.


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       Applying the three-part analysis set forth by the Court in its March 31, 2020 Order to the

selected Sealed Materials in Des 143, 172, and 1992 results in a determination that: (a) the

selected Sealed Materials relate solely to five-year-old discovery disputes and therefore, at most,

begin with a presumption of public access “somewhat lower than the presumption applied to

material introduced at trial, or in connection with dispositive motions such as motions for

dismissal or summary judgment.” Brown v. Maxwell, 929 F.3d 41, 50 (2d Cir. 2019) (citing

United States v. Amodeo, 71 F.3d 1044, 1049-50 (2d Cir. 1995) (“Amodeo II”)); (b) any minimum

presumption of public access is subject to many countervailing interests supporting continued

sealing; and (c) the countervailing interests rebut any minimal presumption of public access.

  II. DE 143 and Related DEs 142, 144, 144-1-7, 149, 150, 150-1, 151, 152, 153, and 153-1
      are afforded the lowest presumption of public access and these Sealed Materials
      should remain sealed.

       This series of pleadings concerns Plaintiff’s attempt to compel Ms. Maxwell to answer

intrusive questions about her sex life.3 4 DE 143 quotes extensively, selectively, and misleadingly

from Ms. Maxwell’s first seven-hour deposition. DE 144-1-7 contains 7 exhibits: 1, 2, and 4-7 are




       2
        As discussed in Sections VII at VIII, infra, consideration of DEs 164 and 230 is
premature at this time.
       3
         DE 142 is a letter notice; DE 143 is the initial motion; DE 144 is a lawyer
declaration referencing the exhibits in DE 144-1-7. The declarations accompanying the
various Sealed Materials often identify a Non-Party. The Court may wish to simply redact
all of the Non-Party names from the declarations as a means of streamlining review and
Notice problems. DE 149 is Defendant’s Response, 150 is a lawyer declaration
referencing the exhibit in DE 150-1. DE 151 is another letter notice. DE 152 is Plaintiff’s
Reply. DE 153 is another lawyer declaration referencing the exhibits in DE 153-1-7. The
name of Doe 1 appears in DEs 152, p. 6 and 153 p. 2 ¶¶ 7 and 8. Doe 2 does not appear in
any DE 143 related pleading.
       The following DEs contain references to Non-Parties: DE 143 references 2 non-parties;
       4

DE 144-1-7 references 7 non-parties; DE 150-1 references 9 non-parties.


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excerpts from Ms. Maxwell’s deposition. Exhibit 3 contains pages from the Palm Beach Police

Report. DE 149 is Ms. Maxwell’s response to DE 143.

       Page 2 of DE 149 contains a summary of Ms. Maxwell’s deposition testimony. DE 150-1

contains pages of Ms. Maxwell’s deposition necessary to place Plaintiff’s submission into

context. DE 153 is Plaintiff’s reply which, again quotes from Ms. Maxwell’s deposition and

references numerous Non-Parties. DE 153-1 contains 7 exhibits. Exhibit 1 is a portion of Ms.

Maxwell’s deposition. Exhibit 2 contains a “Flight Log Summary Chart” prepared by Plaintiff’s

counsel and flight logs that contain the names of numerous Non-Party Does. Exhibit 3 purports to

be 88 pages of Palm Beach Police Reports, some redacted, some unredacted, with multiple

references to Non-Party Does. Exhibit 4 and 7 are inadmissible hearsay transcripts from an

unreliable deceased individual never deposed by Ms. Maxwell. Exhibits 5 and 6 concern J. Doe 1.

 III. DE 143, DE 144-1, exhibits 1, 2, and 4-7; DE 149, page 2, summary of Ms. Maxwell’s
      deposition testimony; DE 150-1; DE 153; and DE 153-1: Identification of
      Countervailing Interests.

       A. Countervailing Interests.

       All of the above DEs are either quotes from, summaries of, or portions of transcripts from

Ms. Maxwell’s deposition in this case. The subject matter of these DEs is extremely personal,

confidential, and subject to considerable abuse by the media. Countervailing interests include:

            1.   Reasonable reliance on a protective order by a party or non-party (“CI-1”).

       If a party or nonparty provides information in connection with a lawsuit in reasonable reliance

upon a Federal Rule of Civil Procedure 26(c) protective order, the information must remain

sealed. See Martindell v. Int'l Tel. & Tel. Corp., 594 F.2d 291, 296 (2d Cir. 1979); see id. at 297-

98 (Medina, J., concurring) (noting "overriding policy in favor of enforcing the civil protective

order against federal prosecutor's request for deposition transcripts”, and holding "[A] plaintiff in

a civil litigation is bound by the terms of an agreement he has made to restrict the access of non-


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parties, including the Government, to the products of discovery. This was the essence of Judge

Frankel's decision in GAF Corp. v. Eastman Kodak Co., 415 F.Supp. 129 (S.D.N.Y.1976), with

which I fully concur.") (footnote omitted). Martindell was cited with approval in SEC v.

TheStreet.com, 273 F.3d 222, 232 (2d Cir. 2001), which was cited with approval in Brown, 929

F.3d at 51 n.40. Notably the Second Circuit in Brown held that redactions of sensitive, private

information disclosed by witnesses in depositions because of "a strong expectation of continued

confidentiality, " Brown, 929 F.3d at 48 n.22, and the Second Circuit itself redacted sensitive

personal references in Ms. Maxwell’s deposition testimony excerpts.

       Ms. Maxwell was the Defendant in this defamation action. She did not inject her personal

life into this case and was deposed under a court-ordered guarantee that her testimony would

remain confidential. She relied on that order and has a strong expectation of continued

confidentiality.

            2.     Prevention of the abuse of court records and files (“CI-2”).

       Courts must exercise their supervisory power over their own records and files to ensure

they “are not used to gratify private spite or promote public scandal” or “serve as reservoirs of

libelous statements for press consumption.” Brown, 929 F.3d at 51 (quoting Nixon v. Warner

Commc'ns, Inc., 435 U.S. 589, 598 (1978)). The Brown court held: "District courts should

exercise the full range of their substantial powers to ensure their files do not become vehicles for

defamation. Id. at 53. The above DE’s are textbook examples of materials that should not be

submitted to courts because of their potential for abuse.

            3.     Annoyance, embarrassment, oppression, undue burden (“CI-3”).

       Materials that cause annoyance, embarrassment, oppression or undue burden to an

individual should be sealed or redacted. See Brown, 929 F.3d at 51. The questions were intrusive

and embarrassing.


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            4.   Preserving the fundamental rights of suspects or others under criminal
                 investigation (“CI-4”).

        The preservation of the fundamental rights of suspects and others under criminal

investigation is a powerful countervailing interest weighing against the presumption of access.

See Nixon, 435 U.S. at 595, 602; Brown, 929 F.3d at 47 n.13; Martindell, 594 F.2d at 295-97. The

courts have an obligation to safeguard the integrity of criminal investigations and the privacy and

safety of witnesses and suspects that are part of those investigations. United States v. Longueuil,

567 F. App'x 13, 16 (2d Cir. 2014) (holding that district court properly sealed contested

documents "as they reflected sensitive information about cooperating witnesses, “and concluding

that sealing was justified in part "to safeguard the privacy of individuals involved in an

investigation”; “[t]he district court was in the best position to weigh these factors”) (internal

quotations and citation omitted); Hardy, 697 Fed. App'x at 725 (2d Cir. 2017) (noting that courts

have found that the following can defeat presumption of access: protection of ongoing

investigations, safety of witnesses, national security, and trade secrets).

        Ms. Maxwell is aware, based on publicly reported statements by Plaintiff, Plaintiff’s

counsel, the United States Attorney for the Southern District of New York, and the Attorney

General for the U.S. Virgin Islands, that investigations surrounding the alleged conduct of Mr.

Epstein survive his death. It is unclear who are witnesses or targets of any investigation. These

ongoing investigations are a powerful countervailing interest here. The sealed testimony or

summaries may inappropriately influence potential witnesses or alleged victims.

 IV. DE 144-1- Exhibit 3 (police reports); DE 153; DE 153- Exhibit 2 “Flight Log
     Summary Chart” prepared by Plaintiff’s counsel and flight logs; Exhibit 3 (88 pages
     of police reports): Identification of Countervailing Interests.

        Numerous yet to be notified Non-Party Does are mentioned in these documents and it is

premature for the Court to make any decision to unseal these documents prior to Notice.



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However, these materials are subject to the following countervailing interests regardless of

additional Non-Party objections:

       A. Countervailing Interests

            1.   Prevention of the abuse of court records and files (CI-2).

       Brown, 929 F.3d at 51and 53, see section III.A.2, supra.

            2.   Improper submission of documents (“CI-5”).

       Documents that a party has submitted for a non-merits purpose, e.g., the confidentiality,

discoverability or admissibility of information, should remain sealed or redacted if there is any

interest in sealing or redaction. See TheSreet.Com, 273 F.3d at 233. The references to the various

attached exhibits were gratuitous and served no legitimate purpose related to the discovery

dispute. During the course of this litigation Plaintiff offered, on more than one occasion, various

iterations and compilations of the Palm Beach Police Reports in which no one identified Ms.

Maxwell as a suspect, a perpetrator, or participant. The attachment of alleged summaries of flight

logs, alleged flight logs, and police reports was simply a mechanism to attempt to bias the Court

and any potential future reader of the material. These issues were briefed in various undecided

motions in limine.

            3.   Untrustworthy, unreliable, and incorrect information (“CI-6”).

       Courts should continue the sealing or redaction of information that is or may be

untrustworthy, hearsay or incorrect or that simply is misinformation. United States v. Amodeo, 71

F.3d 1044, 1052 (2d Cir. 1995) (“Amedeo II”) ("The nature of some parts of the Report militate

against unsealing, however. Portions of the Report are hearsay, and may contain misinformation.

There is a strong possibility that the report will contain material which is untrustworthy or simply

incorrect.") (internal quotations, brackets, citation and ellipsis omitted). Exhibits 4 and 7 are

inadmissible hearsay transcripts from an unreliable deceased individual never deposed by Ms.


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Maxwell. The exhibits could not be considered evidence and should not have been submitted to

the Court. The declarant suffered multiple felony convictions and had been involved in attempting

to obtain money from one of Plaintiff’s lawyers in exchange for alleged evidence. These issues

were briefed in various undecided motions in limine.

  V. DE 153-1 exhibits 4 and 7 and DE 153-1, exhibits 5 and 6: Identification of
     Countervailing Interests

       A. Countervailing Interests

            1.   Untrustworthy, unreliable, and incorrect information (CI-6).

       Exhibits 5 and 6 concern J. Doe 1. Both exhibits are hearsay statements made by J. Doe 1

in proceedings that did not involve Ms. Maxwell. J. Doe 1 was not examined by Ms. Maxwell’s

counsel in that proceeding making the statements unreliable and inadmissible.

 VI. DE 172 (and related DEs 171, 173, 173-1, 189, 190, 190-1, 202, 203, 204-1, 211, 212,
     212-1, and 224) are afforded the lowest presumption of public access and this Sealed
     Material should remain sealed.

       These pleadings concern what should have been a straightforward request by Plaintiff to

exceed the presumptive 10 deposition limit set by the Court.5 It was not. Instead of simply asking

to exceed the presumptive limit, Plaintiff felt the urge to pack the record with deposition

testimony subject to the Protective Order and references to multiple Non-Party Does including

deposition testimony from Non-Party Does.6



       5
          DE 171 is a letter notice; DE 172 is the initial motion; DE 173 is a lawyer declaration
referencing the exhibits in DE 173-1. DE 189 is Defendant’s Response, 190 is a lawyer
declaration referencing the exhibit in DE 190-1. DE 202 is another letter notice. DE 203 is
Plaintiff’s Reply. DE 204 is another lawyer declaration referencing the exhibits in DE 204-1.
DEs 211, 212, 212, 212-1 and 224 are amended/corrected versions of DEs 202, 203, and 204-1.
The name of Doe 1 appears in DEs 172, pp. i, 2, 6, 11, and 12; 173 p. 2 ¶¶ 5 and 10; 173-6 pp. 71,
73, and 218; 189 p. 6; 203, pp. 2, and 5-6, 204, p. 1 ¶ 5 ; 204-3, all; 211, see 203; 212, see 204;
212-3, see 204-1:3; 224, see 203. Doe 2 appears in DEs 172, pp. i, 2, and 12; and 189 p.5.
       The following DEs contain references to Non-Parties: DE 172 references 14 non-parties;
       6

DE 173-1 references 47 non-parties; DE 189 references 8 non-parties; DE 203 references 12 non-


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       Given the repeated references to Non-Parties it is premature for the Court to make any

decision to unseal these documents prior to Notice. However, Countervailing interests exist that

warrant a decision to seal many of the Selected Materials regardless of any additional Non-Party

objections.

       A. Identification of Countervailing Interests

              1.   Reasonable reliance on a protective order by a party or non-party (CI-1).
                   Prevention of the abuse of court records and files (CI-2). Annoyance,
                   embarrassment, oppression, undue burden (CI-3). Preserving the
                   fundamental rights of suspects or others under criminal investigation (CI-4).

       DE 172 contains multiple references to Ms. Maxwell’s deposition testimony and the

deposition testimony of one other Non-Party taken pursuant to the Protective Order. See pp. 2, 4-8

as to Ms. Maxwell and pp. 3, 4, 9, and 11 as to an additional Non-Party Doe. Reasonable reliance

on a protective order by a party or non-party, Prevention of the abuse of court records and files,

Annoyance, embarrassment, oppression, undue burden, Preserving the fundamental rights of

suspects or others under criminal investigation, all identified in section III.A.1-4 apply to these

pages of DE 172.

              2.   Non-Judicial Documents (“CI-7”).

       In defining “judicial records and documents,” the Second Circuit “ha[s] emphasized that

‘the mere filing of a paper or document with the court is insufficient to render that paper a judicial

document subject to the right of public access.’” Brown v. Maxwell, 929 F.3d 41, 49 (2d Cir.

2019) (emphasis supplied; footnote omitted; quoting United States v. Amodeo, 44 F.3d 141, 145

(2d Cir. 1995) (“Amodeo I”)). Amodeo I, the inception of the Second Circuit’s principle that a file

stamp is not a judicial-document talisman, is instructive. There an appointed Court Officer tasked



parties; DE 204-1 references 4 non-parties; DE 211 references 12 non-parties; DE 202 references
2 non-parties; DE 202-1 references 2 non-parties; DE 224 references 8 non-parties.


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with an investigation for the District Court for the Southern District of New York prepared and

filed with the court a sealed report of her investigation. Newsday moved to unseal the report.

After the court released an edited and redacted copy of the report, Newsday appealed. See 44 F.3d

at 142-43.

       If its mere filing transformed the report into a judicial document, Amodeo I would have

been categorical and succinct. It was neither. The decision turned on the Second Circuit’s lengthy

discussion of the First and Third Circuits’ divergent approaches to the question, when is a mere

document transformed into a judicial one? The Third Circuit’s focus was “‘on the technical

question of whether a document is physically on file with the court.’” Amodeo I, 44 F.3d at 145

(quoting Pansy v. Borough of Stroudsburg, 23 F.3d 772, 782 (3d Cir. 1994)). In that circuit if a

document is filed with a court, it is a judicial document; otherwise it is not. See id. (citing Pansy,

23 F.3d at 782). The Amodeo I court cited two other Third Circuit cases confirming that circuit’s

litmus-test approach to identifying judicial documents: Bank of America National Trust and

Savings Association v. Hotel Rittenhouse Association, 800 F.2d 339, 344-45 (3d Cir. 1986)

(“Once a settlement is filed in the district court, it becomes a judicial record, and subject to the

access accorded such records.”); Leucadia, Inc. v. Applied Extrusion Technologies, Inc., 998 F.2d

157, 161-62 (3d Cir. 1993) (listing cases in which “other courts have also recognized the principle

that the filing of a document gives rise to a presumptive right of public access”). Amodeo I, 44

F.3d at 145.

       The First Circuit “has taken a somewhat different approach,” id. In that circuit “documents

must have a role in the adjudication process in order to be accessible and . . . documents that have

no such role, such as those used in discovery, cannot be reached.” Id. (citing Anderson v.

Cryovac, Inc., 805 F.2d 1, 13 (1st Cir. 1986)). Amodeo I found instructive F.T.C. v. Standard




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Financial Management Corp., 830 F.2d 404 (1st Cir. 1987). In F.T.C. a district court relied upon

financial records referenced in a proposed consent decree in deciding whether to approve the

decree. The First Circuit held the financial records were judicial documents because they were

submitted to the court as part of the decree-approval process, they were “‘relevant and material”

to the process, and the district court “relied upon the documents in assessing the reasonableness of

the order, i.e., in determining the litigants’ substantive rights, and in performing its adjudicatory

function.’” Id. (quoting F.T.C., 830 F.2d at 410).

       The Second Circuit adopted the First Circuit’s approach:

       We think that the mere filing of a paper or document with the court is insufficient
       to render that paper a judicial document subject to the right of public access. We
       think that the item filed must be relevant to the performance of the judicial
       function and useful in the judicial process in order for it to be designated a judicial
       document.

Id. Brown was building on Amodeo I’s holding when it said, “As our precedent makes clear, a

court “‘perform[s] the judicial function’ . . . when it rules on motions currently before it.” Brown,

929 F.3d at 49 (emphasis supplied; footnote omitted; quoting Amodeo I, 44 F.3d at 145). And it

was building on Amodeo I when it said, “A document is thus ‘relevant to the performance of the

judicial function’ if it would reasonably have the tendency to influence a district court’s ruling on

a motion . . . .” Id. (emphasis supplied; footnote omitted; quoting Amodeo I, 44 F.3d at 145). Both

Brown accretions to the Amodeo I principle are themselves dependent upon the principle. If a

motion is not “currently before” the district court, then a fortiori the court is not “perform[ing] the

judicial function.” And if a motion is not currently before the court, then a fortiori it cannot

“reasonably have [a] tendency to influence” the court.

       Brown’s holding was hardly a surprise. It followed S.E.C. v. TheStreet.Com, 273 F.3d 222,

233 (2d Cir. 2001). There the Second Circuit held that documents that “did not ‘directly affect an



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adjudication’ nor . . . significantly ‘determine litigants’ substantive rights’” were not judicial

documents. (Brackets omitted; quoting United States v. Amodeo, 71 F.3d 1044, 1049 (2d Cir.

1995) (“Amodeo II”).)

       DE 173, a declaration, references additional Non-Parties, generally those identified in

lawyer emails. The Court may wish to defer consideration of this DE. Redaction of the names

would eliminate any issue related to this document. DE 173-1 exhibits 1-4 identify additional

Non-Parties. Generally, these exhibits are a composite of various back and forth emails between

counsel which are hearsay, non-judicial, documents and which contain the identity of Non-Party

Does. This exhibit should not be considered a judicial document. The arguments of counsel in

self-serving emails are generally not reliable evidence upon which any judicial decision rests or

should rest.

               3.   Reasonable reliance on a protective order by a party or non-party (CI-1).
                    Prevention of the abuse of court records and files (CI-2). Annoyance,
                    embarrassment, oppression, undue burden (CI-3). Preserving the
                    fundamental rights of suspects or others under criminal investigation (CI-4).
                    Untrustworthy, unreliable, and incorrect information (CI-6).

       DE 172-1, exhibit 5, is an entire, 160-page, Non-Party deposition taken under the

guarantee of the Protective Order entered in this case and should be sealed by application of the

countervailing interests identified in [] above. Similarly DE 172-1, exhibit 6 is the entire, 418-

page, deposition of Ms. Maxwell taken under the guarantee of the Protective Order and should

remain sealed based on the countervailing interests identified above.

       DE 172-1, exhibit 7, is yet another copy of the same 88 pages of police reports attached to

many other pleadings in this case. This exhibit should remain sealed for the reasons discussed in

section VI.A.2 and 3, supra.

       DE 172-1, exhibit 8, is an identical copy of J. Doe 1’s hearsay statement attached to DE

153-1 and should be sealed for the same reasons discussed in section V.A.1.


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            4.   Non-Judicial Documents (CI-7)

       DE 172-1, exhibit 9, is additional counsel generated, self-serving correspondence that is

not a judicial document as discussed in section VI.A.2 above.

            5.   Reasonable reliance on a protective order by a party or non-party (CI-1).
                 Prevention of the abuse of court records and files (CI-2). Annoyance,
                 embarrassment, oppression, undue burden (CI-3). Preserving the
                 fundamental rights of suspects or others under criminal investigation (CI-4).

       DE 189 is Defendant’s response to the motion. Page 5 of the response contains a

paragraph quoting the deposition testimony of a Non-Party taken pursuant to the Protective Order

which should remain sealed because of countervailing factors CI-1 through CI-4. The remaining

portions of that document can be unsealed, subject to any additional Non-Party objections.

       DE 190 and 190-1 relate to deposition testimony by Plaintiff. Ms. Maxwell has no

objection to unsealing these documents, subject to any Non-Party objections.

            6.   Reasonable reliance on a protective order by a party or non-party (CI-1).
                 Prevention of the abuse of court records and files (CI-2). Annoyance,
                 embarrassment, oppression, undue burden (CI-3). Preserving the
                 fundamental rights of suspects or others under criminal investigation (CI-4).

       DE 203, Plaintiff’s reply, contains numerous quotes from the protected deposition

testimony taken from Non-Party Does and should remain sealed based on countervailing interests

discussed above.

            7.   Reasonable reliance on a protective order by a party or non-party (CI-1).
                 Prevention of the abuse of court records and files (CI-2). Annoyance,
                 embarrassment, oppression, undue burden (CI-3). Preserving the
                 fundamental rights of suspects or others under criminal investigation (CI-4).

       DE 204 and 204-1 relate to the deposition testimony of three Non-Party Does including J.

Doe 1. All of the references to the Non-Parties and the testimony should remain sealed based on

the countervailing interests discussed above. Exhibit 1 to DE 204 is the testimony of a J. Doe, yet

to receive Notice, taken subject to the Protective Order which was relied on by the J. Doe. Exhibit



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2 to DE 204-1 is a “rough” transcript of a yet to be notice J. Doe also taken pursuant to the

Protective Order. Exhibit 3 to DE 204-1 is deposition testimony taken of J. Doe 1 pursuant to the

Protective Order. Although J. Doe 1 has not responded to the notice, J. Doe 1 made it clear in this

deposition that J. Doe 1 did not want any further involvement in this matter and that J. Doe 1 was

unable to accurately recall details of the events described as a result of a medical condition. DEs

211, 212, and 212-1 are the same as DEs 203, 201 and 204-1 and should be treated identically.

VII. DE 199 (and related DEs 200, 200-1, 228, 229, 229-1, 248, 249, and 249-1) are
     afforded the lowest presumption of public access and this Sealed Material should
     remain sealed.

            1.   Reasonable reliance on a protective order by a party or non-party (CI-1).
                 Prevention of the abuse of court records and files (CI-2). Annoyance,
                 embarrassment, oppression, undue burden (CI-3). Preserving the
                 fundamental rights of suspects or others under criminal investigation (CI-4)
                 and Redactions of Names.

       These pleadings relate to Plaintiff’s request for additional time to complete the depositions

referenced in her pleadings related to her request for more depositions. Generally, the DEs

reference Non-Party Does and refer in some instances to Non-Party deposition testimony taken

under the guarantees of the Protective Order. The Court, prior to unsealing the Sealed Materials,

will require the responses of yet to be notified Non-Party Does.7 However, it appears that the

volume of Sealed Material in these DEs is minimal. The Court could determine that the Sealed

Materials remain sealed by application of countervailing interests CI-1 through CI-4.




       7
         The following DEs contain references to Non-Parties: DE 228 references 14 non-parties;
DE 229 references 5 non-parties; DE 229-1 references 33 non-parties; DE 248 references 17 non-
parties; DE 249 references 9 non-parties; DE 249-1 references 18 non-parties.


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VIII. DE 164 (and related DEs 165, 165-8, 185-3, 185-11, 185-14, 185-15). Should Remain
      Sealed Pending Additional Non-Party Notice and Responses Pursuant to The
      Protocol.

       The pleadings related to DE 164 concern discovery related to a waiver of Plaintiff’s

attorney client privilege as a result of her lawyers’ extrajudicial conduct and statements and

Plaintiff’s statements in other matters.8 Accordingly, these materials are afforded the lowest

presumption of public access. However, Ms. Maxwell anticipates that, subject to any objections

from, yet-to-be-noticed, Non-Party Does she has no objection to the release of these materials.

Release at this time is premature, because various Non-Parties may raise countervailing interests

that must be addressed by the Court pursuant to the Protocol.9

 IX. DE 230 and (and related DEs 235, 235-5, 235-7, 235-11, 235-13). Should Remain
     Sealed Pending Additional Non-Party Notice and Responses Pursuant to The
     Protocol.

       The Pleadings related to DE 230 concern the reopening of Plaintiff’s deposition.

Accordingly, these materials are afforded the lowest presumption of public access10. However,

Ms. Maxwell anticipates that, subject to any objections from, yet-to-be-noticed, Non-Party Does

she has no objection to the release of these materials. Release at this time is premature, because




       8
         DE 165 is a lawyer declaration referencing the exhibit DE165-8; DE 185-3 is a Response
to Motion to Intervene; DE 185-11 are pgs. from Plaintiff’s deposition; DE 185-14 are pages from
one of Plaintiff’s lawyers’ deposition; DE 185-15 is an interview between Plaintiff and two of her
lawyers.
       9
        The following DEs contain references to Non-Parties: DE 165 references 1 non-party;
DE 165-8 references 1 non-party; DE 185-3 references 12 non-parties; DE 185-11 references 8
non-parties; DE 185-14 references 1 non-party; DE 185-15 references 15 non-parties.
       10
         DE 235 is a redacted lawyer declaration referencing a non-party and exhibits DE 235-5,
235-7, 235-11, 235-13.; DE 235-5 contains letters between counsel; 235-7 is an expert from a
non-party deposition, 235-11 is a privilege log; 235-13 is an errata sheet from a deposition.


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various Non-Parties may raise countervailing interests that must be addressed by the Court

pursuant to the Protocol.11

  X. Conclusion

       Substantial interests warrant a continued finding by the Court that the various Sealed

Documents at issue here remained sealed.

       Dated: June 10, 2020.




                                                 Respectfully submitted,

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       11
         The following DEs contain references to Non-Parties: DE 235 references 1 non-party,
DE 235-5 references 3 non-parties; DE 235-7 references 1 non-party; DE 235-11 references 3
non-parties; DE 235-13 references 3 non-parties.


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                                CERTIFICATE OF SERVICE

I certify that on June 10, 2020, I electronically served this Ms. Maxwell’s Memorandum Brief In
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